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            8                                   UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
            9
                                                     WESTERN DIVISION
            10
                 MARTIN TROTTIER, individually and on behalf   Case No. 2:20-cv-00077
            11   of all others similarly situated,
                                                               Plaintiff’s   Original   Complaint    for
            12                             Plaintiff,          Damages

            13   vs.                                            1.   Failure to pay overtime compensation
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                                                                     (Fair Labor Standards Act, 29 U.S.C.
            14                                                       § 201, et seq.)
                 FIELDCORE SERVICES SOLUTIONS, LLC,
                 and      GRANITE         SERVICES              2.   Failure to pay wages (CAL. LAB. CODE
            15
                 INTERNATIONAL, INC.,                                §§ 510, 1194, 1194.5; IWC Wage Order
            16
                                                                     16-2001)
                                           Defendants.          3.   Failure to provide compensation for
            17                                                       missed meal and rest periods (CAL.
                                                                     LAB. CODE §§ 226.7, 512; IWC Wage
            18                                                       Order 16-2001)
                                                                4.   Violations      of   record  keeping
            19                                                       requirements (CAL. LAB. CODE § 226)
                                                                5.   Waiting time penalties (CAL. LAB.
            20
                                                                     CODE § 203)
            21                                                  6.   Violation of Unfair Competition Law
                                                                     (CAL. BUS. & PROF. CODE §§ 17200, et
            22                                                       seq.)
                                                                7.   Failure to pay overtime wages under
            23                                                       NYLL (NYLL, art. 19, § 650, et seq.)
                                                                8.   Failure to provide proper annual
            24
                                                                     wage notices under NYLL (NYLL,
            25
                                                                     art. 6, § 195(1))
                                                                9.   Failure to provide accurate wage
            26                                                       statements under NYLL (NYLL, art.
                                                                     6, § 195(3))
            27

            28

                 Pl’s Original Complaint                                                              -1-
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            1                                                  SUMMARY
            2              1.    Plaintiff Martin Trottier works for Defendant FieldCore Service Solutions
            3    International, LLC (FieldCore), which recently rebranded from Defendant Granite Services
            4    International, Inc. (Granite).
            5              2.    The nature of Trottier’s working relationship with Defendants is that of an employer-
            6    employee, and he is entitled to the benefits of an employee under the FLSA, California law, and New
            7    York law.
            8              3.    Trottier works overtime while working for Defendants.
            9              4.    Defendants pay Trottier the same hourly rate for all hours worked including those in
            10   excess of 40 in a workweek.
            11             5.    Defendants do not pay Trottier a salary.
            12             6.    Defendants do not guarantee Trottier a salary.
            13             7.    Defendants do not pay Trottier overtime.
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            14             8.    Trottier and the other hourly employees are similarly situated for the purposes of the
            15   FLSA, California law, and New York law.
            16             9.    Trottier seeks back wages, liquidated damages, attorney fees, costs, and all other
            17   remedies available under the FLSA, California law, and New York law.
            18                                         JURISDICTION & VENUE
            19             10.   This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331,
            20   because this action involves a federal question under the FLSA, 29 U.S.C. § 216(b).
            21             11.   The Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C.
            22   § 1367.
            23             12.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial
            24   part of the events or omissions giving rise to the claim occurred in this District.
            25             13.   Venue is also proper in this Court pursuant to 28 U.S.C. § 1391(b) because Trottier
            26   worked for Defendants in this District and Division.
            27                                                  PARTIES
            28             14.   Trottier has worked for Defendants as a Technical Advisor since January of 2017.

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            1            15.     Throughout his employment with Defendants, Trottier has been paid the same hourly
            2    rate for all hours worked including those in excess of 40 in a workweek.
            3            16.     Trottier’s consent to be a party plaintiff is attached as Exhibit A.
            4            17.     Trottier brings this action on behalf of himself and all other similarly situated workers
            5    were paid under Defendants’ straight time for overtime system, regardless of job title, except for
            6    Environment, Health, and Safety (EHS) employees.
            7            18.     Defendants did not pay these workers overtime for all hours that they worked in excess
            8    of 40 hours in a workweek, as required by the FLSA.
            9            19.     Trottier represents at least three classes of similarly situated co-workers.
            10           20.     First, Trottier represents a class of similarly situated hourly employees under the FLSA
            11   pursuant to 29 U.S.C. § 216(b). The FLSA Class is defined as:
            12                   All employees of FieldCore and Granite (except for EHS employees) in
                                 the past three years who were paid “straight time for overtime.”
            13
PARMET PC




            14           21.     Second, Trottier represents a class of similarly situated hourly employees under the

            15   California Labor Code pursuant to Federal Rule of Civil Procedure 23. The California Class is defined

            16   as:

            17                   All employees of FieldCore and Granite (except for EHS employees) in
                                 the past four years working in California who were paid “straight time
            18                   for overtime.”

            19           22.     Third, Trottier represents a class of similarly situated hourly employees under the New
            20   York Labor Law (NYLL) pursuant to Federal Rule of Civil Procedure 23. The New York Class is
            21   defined as:
            22                   All employees of FieldCore and Granite (except for EHS employees) in
                                 the past six years working in New York who were paid “straight time
            23                   for overtime.”
            24
                         23.     Collectively, the FLSA Class Members, California Class Members, New York Class
            25
                 Members are referred to as the “Class Members.”
            26
                         24.     FieldCore is a foreign limited liability company authorized to do business in California.
            27
                         25.     FieldCore conducts business in a systematic and continuous manner throughout
            28
                 California, including this District and Division.
                 Pl’s Original Complaint                                                                              -3-
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            1            26.     FieldCore may be served by serving its registered agent, CT Corporation System,
            2    818 Seventh St., Ste. 930, Los Angeles, CA 90017, or by any other method authorized by law.
            3            27.     Granite is a foreign for-profit corporation authorized to do business in California.
            4            28.     Granite conducts business in a systematic and continuous manner throughout
            5    California, including this District and Division.
            6            29.     Granite may be served by serving its registered agent, CT Corporation System, 818
            7    Seventh St., Ste. 930, Los Angeles, CA 90017, or by any other method authorized by law.
            8            30.     Due to the relationship between Gramite and FieldCore, these entities were joint
            9    employers for the purposes of the FLSA. See 29 C.F.R. § 791.2.
            10                                       COVERAGE UNDER THE FLSA
            11           31.     For at least the past three years, FieldCore and Granite have been an employer within
            12   the meaning of the section 3(d) of the FLSA, 29 U.S.C. § 203(d).
            13           32.     For at least the past three years, FieldCore and Granite have been part of an enterprise
PARMET PC




            14   within the meaning of section 3(r) of the FLSA, 29 U.S.C. § 203(r).
            15           33.     For at least the past three years, FieldCore and Granite have been part of an enterprise
            16   engaged in commerce or in the production of goods for commerce within the meaning of section
            17   3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has and has had employees engaged
            18   in commerce or in the production of goods for commerce, or employees handling, selling, or
            19   otherwise working on goods or materials—such as construction equipment, laptops, and cell
            20   phones—that have been moved in or produced for commerce by any person and in that said enterprise
            21   has had and has an annual gross volume of sales made or business done of not less than $500,000
            22   (exclusive of excise taxes at the retail level which are separately stated).
            23           34.     For at least the past three years, Trottier and the FLSA Class Members were engaged
            24   in commerce or in the production of goods for commerce.
            25                                                       FACTS
            26           35.     FieldCore is a subsidiary of General Electric (GE).
            27           36.     Granite recently re-branded as FieldCore.
            28

                 Pl’s Original Complaint                                                                             -4-
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            1             37.    FieldCore is a newly formed company bringing together the field service resources
            2    from Granite and GE Power Services into one field services organization.
            3             38.    Defendants provide field services and technical and support services for the power
            4    generation and oil and gas industries.
            5             39.    Trottier is one of these employees.
            6             40.    Trottier has worked for Defendants since January of 2017.
            7             41.    Trottier performed work for Defendants in California, Texas, New York, and
            8    Montana.
            9             42.    Defendants primarily staff Trottier to its parent company GE and to NRG Energy,
            10   Inc.
            11            43.    Defendants pay Trottier by the hour.
            12            44.    Trottier was and is paid $50 for each approved hour he works.
            13            45.    Trottier reports the hours he worked to Defendants on a regular basis.
PARMET PC




            14            46.    Trottier is not guaranteed a salary.
            15            47.    If Trottier works fewer than 40 hours, he is only paid for the hours he works.
            16            48.    Trottier regularly works over 40 hours.
            17            49.    For example, in the one-week period ending on August 30, 2019, Trottier worked 80
            18   hours.
            19            50.    In that week, Trottier worked 40 hours of overtime.
            20            51.    Trottier was paid his regular rate of $50 for every hour he worked.
            21            52.    As shown, rather than receiving time and half as required by the FLSA, Trottier only
            22   received “straight time” pay for overtime hours worked.
            23            53.    Defendants’ “straight time for overtime” payment scheme violates the FLSA.
            24            54.    Defendants were and are aware of the overtime requirements of the FLSA.
            25            55.    Defendants nonetheless fail to pay certain employees, such as Trottier, overtime.
            26            56.    Defendants failure to pay overtime to these workers was, and is, a willful violation of
            27   the FLSA.
            28

                 Pl’s Original Complaint                                                                             -5-
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            1                              CLASS AND COLLECTIVE ACTION ALLEGATIONS
            2            57.     Numerous hourly employees have been victimized by this pattern, practice, and policy,
            3    which are in willful violation of the FLSA.
            4            58.     Many of these hourly employees have worked with Trottier and have reported that
            5    they were paid in the same manner and were not properly compensated for all hours worked, as
            6    required by the FLSA.
            7            59.     Thus, from Trottier’s observations and discussions with these hourly employees, he is
            8    aware that the illegal practices or policies of Defendants have been imposed on a distinct group of
            9    hourly employees.
            10           60.     These employees were all paid straight time for overtime, and were not paid overtime
            11   compensation.
            12           61.     These hourly employees are victims of Defendants’ unlawful compensation practices
            13   and are similarly situated to Trottier in terms of pay provisions and employment practices.
PARMET PC




            14           62.     Defendants’ failure to pay wages and overtime compensation at the rates required by
            15   the FLSA result from generally applicable, systematic policies and practices, which are not dependent
            16   on the personal circumstances of the hourly employees.
            17           63.     Thus, Trottier’s experiences are typical of the experiences of the hourly employees he
            18   seeks to represent.
            19           64.     The specific job titles or precise job locations of the various hourly employees does
            20   not prevent collective treatment.
            21           65.     Trottier has no interests contrary to, or in conflict with, the members of the FLSA
            22   Class Members, California Class Members, and New York Class Members. Like each member of the
            23   proposed classes, Trottier has an interest in obtaining the unpaid overtime wages owed under state
            24   and/or federal law.
            25           66.     A class and collective action, such as the instant one, is superior to other available
            26   means for fair and efficient adjudication of the lawsuit.
            27

            28

                 Pl’s Original Complaint                                                                           -6-
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            1              67.   Absent this action, many FLSA, California, and New York Class Members likely will
            2    not obtain redress of their injuries and Defendants will reap the unjust benefits of violating the FLSA,
            3    California, and New York law.
            4              68.   Furthermore, even if some of the FLSA, California, and New York Class Members
            5    could afford individual litigation against Defendants, it would be unduly burdensome to the judicial
            6    system.
            7              69.   Concentrating the litigation in one forum will promote judicial economy and parity
            8    among the claims of individual members of the classes and provide for judicial consistency.
            9              70.   The questions of law and fact common to each of the FLSA, California, and New
            10   York Class Members predominate over any questions affecting solely the individual members. Among
            11   the common questions of law and fact are:
            12             a.    Whether Defendants employed the FLSA, California, and New York Class Members
            13                   within the meaning of the FLSA, California, and New York law;
PARMET PC




            14             b.    Whether the FLSA, California, and New York Class Members were exempt from
            15                   overtime;
            16             c.    Whether Defendants’ decision to not pay overtime to the FLSA Class Members was
            17                   made in good faith; and
            18             d.    Whether Defendants’ violation of the FLSA was willful.
            19             71.   Trottier’s claims are typical of the FLSA, California, and New York Class Members.
            20   Trottier and the FLSA, California, and New York Class Members have sustained damages arising out
            21   of Defendants’ illegal and uniform employment policy.
            22             72.   Trottier knows of no difficulty that will be encountered in the management of this
            23   litigation that would preclude its ability to go forward as a class or collective action.
            24             73.   Although the issue of damages may be somewhat individual in character, there is no
            25   detraction from the common nucleus of liability facts. Therefore, this issue does not preclude class or
            26   collective action treatment.
            27             74.   All the Class Members, regardless of their precise job requirements or rates of pay,
            28   are entitled to be properly compensated for all hours worked in excess of 40 hours per week. Although

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            1    the issue of damages may be individual in character, there is no detraction from the common nucleus
            2    of liability facts.
            3                              FIRST CAUSE OF ACTION—VIOLATION OF THE FLSA
            4             75.       Trottier incorporates by reference all other paragraphs.
            5             76.       Defendants have violated, and are violating, section 7 of the FLSA, 29 U.S.C. § 207,
            6    by compensating hourly employees straight time for overtime in an enterprise engaged in commerce
            7    or in the production of goods for commerce within the meaning of the FLSA for workweeks longer
            8    than 40 hours without compensating the FLSA Class Members for their employment in excess of 40
            9    hours per week at rates no less than 1.5 times the regular rates for which they were employed.
            10            77.       Defendants knowingly, willfully, or in reckless disregard carried out this illegal pattern
            11   and practice of failing to pay the FLSA Class Members overtime compensation.
            12            78.       Defendants’ failure to pay overtime compensation to these FLSA Class Members was
            13   neither reasonable, nor was the decision not to pay overtime made in good faith.
PARMET PC




            14            79.       Accordingly, Trottier and the FLSA Class Members are entitled to overtime wages
            15   under the FLSA in an amount equal to 1.5 times their rate of pay, plus liquidated damages, attorney’s
            16   fees, and costs.
            17            SECOND CAUSE OF ACTION—FAILURE TO PAY WAGES UNDER CALIFORNIA LAW
            18            80.       Trottier incorporates by reference all other paragraphs.
            19            81.       The California Labor Code requires that all employees, including Trottier and the
            20   California Class, receive 1.5 times their hourly rate as overtime premium compensation for hours
            21   worked over eight in one day. CAL. LAB. CODE § 510 (2017); IWC Wage Order 16-2001.
            22            82.       Despite working over 8 hours a day as part of their normal and regular shift, Trottier
            23   and the California Class did not receive any overtime compensation for all hours worked over eight in
            24   one day.
            25            83.       The California Labor Code also requires that all employees, including Trottier and the
            26   California Class, receive two times the overtime premium compensation for hours worked over 12 in
            27   one day. CAL. LAB. CODE § 510 (2017); IWC Wage Order 16-2001.
            28

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            1            84.     Although Trottier and the California Class occasionally worked over 12 hours in one
            2    day, they did not receive the “double time” compensation required by California law.
            3            85.     The California Labor Code requires that all employees, including Trottier and the
            4    California Class, receive two times the overtime premium compensation for hours worked over 8 in
            5    one day, in the seventh day of a workweek. CAL. LAB. CODE §§ 510, 551–52 (2017); IWC Wage Order
            6    16-2001.
            7            86.     Although Trottier and the California Class regularly worked seven days a week, for at
            8    least 12 hours a day, they did not receive the “double time” compensation required by California law
            9    for all hours over eight worked on the seventh day.
            10           87.     This pattern, practice, and uniform administration of corporate policy regarding illegal
            11   employee compensation is unlawful and entitles Trottier and the California Class to recover unpaid
            12   balance of the full amount of overtime wages owing, including liquidated damages, interest, attorneys’
            13   fees, and costs of suit pursuant to California Labor Code section 1194.
PARMET PC




            14                             THIRD CAUSE OF ACTION—FAILURE TO PROVIDE
            15                        COMPENSATION FOR MISSED MEAL AND REST PERIODS
            16           88.     Trottier incorporates by reference all other paragraphs.
            17           89.     In accordance with the mandates of California Labor Code sections 226.7 and 512,
            18   and applicable IWC Wage Orders, Trottier and the California Class had the right to take two
            19   uninterrupted 30-minute meal periods for each day they worked 10 hours per day and a 10-minute
            20   rest period for every four hours worked per day. CAL. LAB. CODE §§ 226.7, 512; IWC Wage Order 16-
            21   2001.
            22           90.     Although the California Labor Code requires that all employees, including Trottier and
            23   the California Class, receive two, 30-minute meal-period breaks when employed for 10 hours per day,
            24   Trottier and the California Class did not receive two meal-period breaks for each day worked, despite
            25   working shifts of 12 hours or more. CAL. LAB. CODE § 512; IWC Wage Order 16-2001.
            26           91.     As a pattern and practice, Defendants did and do not provide Trottier and the
            27   California Class with meal-period breaks, and did not provide proper compensation for this failure as
            28   required by California law.

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            1            92.       Although the California Labor Code requires that all employees, including Trottier and
            2    the California Class, receive a 10-minute rest period for every four hours worked, Trottier and the
            3    California Class did not receive any rest periods during their shifts of 12 or more hours. CAL. LAB.
            4    CODE § 512; IWC Wage Order 16-2001.
            5            93.       As a pattern and practice, Defendants did not provide Trottier and the California Class
            6    with rest-period breaks, and did not provide proper compensation for this failure as required by
            7    California law.
            8            94.       Trottier and the California Class are entitled to receive compensation, at their regular
            9    rate of pay, of one hour for each day they were denied their lawfully required meal- and rest-periods.
            10   CAL. LAB. CODE § 512; IWC Wage Order 16-2001.
            11           95.       Defendants’ policy failed to provide Trottier and the California Class with the legally
            12   mandated meal period breaks. Such a pattern, practice, and uniform administration of corporate policy
            13   as described herein is unlawful and creates an entitled to recovery by Trottier and the California Class
PARMET PC




            14   in a civil action, for the balance of the unpaid compensation pursuant to Labor Code sections 226.7
            15   and 512, and applicable IWC Wage Orders.
            16          FOURTH CAUSE OF ACTION—VIOLATIONS OF RECORD KEEPING REQUIREMENTS
            17           96.       Trottier incorporates by reference all other paragraphs.
            18           97.       California Labor Code section 226 requires Defendants to keep accurate records
            19   regarding the rates of pay for their California employees and provide that information to Trottier and
            20   the California Class with their wage payment.
            21           98.       Because Defendants failed to pay Trottier and the California Class Members lawful
            22   wages, it did not maintain accurate records of Trottier and the California Class’ daily hours, gross
            23   wages earned, net wages earned, and the applicable hourly rates, and did not provide that information
            24   to Trottier and the California Class with their wages.
            25           99.       This pattern, practice, and uniform administration of corporate policy is unlawful and
            26   entitles Trottier and the California Class to recover all damages and penalties available by law, including
            27   interest, penalties, attorney fees, and costs of suit. CAL. LAB. CODE § 226(e).
            28

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            1                           FIFTH CAUSE OF ACTION—WAITING TIME PENALTIES
            2            100.     Trottier incorporates by reference all other paragraphs.
            3            101.     At all relevant times, Defendants were required to pay Trottier and the California Class
            4    all wages owed in a timely fashion at the end of employment pursuant to California Labor Code
            5    sections 201 to 204.
            6            102.     As a result of Defendants’ alleged California Labor Code violations, Defendants
            7    regularly failed to pay Trottier and the California Class their final wages pursuant to California Labor
            8    Code sections 201 to 204, and accordingly Defendants owe waiting time penalties pursuant to
            9    California Labor Code section 203.
            10           103.     The conduct of Defendants, in violation of Trottier and the California Class’ rights,
            11   was willful and was undertaken by the agents, employees, and managers of Defendants.
            12           104.     Defendants’ willful failure to provide Trottier and the California Class the wages due
            13   and owing them upon separation from employment results in a continuation of wages up to 30 days
PARMET PC




            14   from the time the wages were due.
            15           105.     Therefore, Trottier and the California Class who have separated from employment are
            16   entitled to compensation pursuant to California Labor Code section 203.
            17                  SIXTH CAUSE OF ACTION—VIOLATION OF UNFAIR COMPETITION LAW
            18           106.     Trottier incorporates by reference all other paragraphs.
            19           107.     Defendants have engaged, and continues to engage, in unfair and unlawful business
            20   practices in California by practicing, employing, and utilizing the employment practices outlined above
            21   by knowingly denying employees: (1) overtime wages required under federal law; (2) overtime wages
            22   required by California law; (3) meal- and rest-period break wages; (4) accurate wage statements; and
            23   (5) waiting time penalties.
            24           108.     As a result of Defendants’ failure to comply with federal and state law, Defendants
            25   have also violated the California Unfair Competition Law (“UCL”), CAL. BUS. & PROF. CODE § 17200,
            26   et. seq., which prohibits unfair competition by prohibiting any unlawful or unfair business actions or
            27   practices.
            28

                 Pl’s Original Complaint                                                                             - 11 -
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            1            109.    The relevant acts by Defendants occurred within the four years preceding the filing of
            2    this action.
            3            110.    On information and belief, Defendants have engaged in unlawful, deceptive, and
            4    unfair business practices, pursuant to California’s Business and Professions Code section 17200, et seq.,
            5    including those set forth above, depriving Trottier and the California Class of minimum working
            6    condition standards and conditions under California law and IWC Wage Orders as set forth above.
            7            111.    Trottier and the California Class are entitled to restitution for at least the following:
            8    restitution for unpaid overtime wages and unpaid California Labor Code § 203 continuation wages.
            9            112.    Trottier and the California Class are also entitled to permanent injunctive and
            10   declaratory relief prohibiting Defendants from engaging in the violations and other misconduct
            11   referred to above.
            12           113.    Defendants are also liable for fees and costs pursuant to California Code of Civil
            13   Procedure section 1021.5 and other applicable law.
PARMET PC




            14          SEVENTH CAUSE OF ACTION—FAILURE TO PAY OVERTIME WAGES UNDER NYLL
            15           114.    Trottier incorporates by reference all other paragraphs.
            16           115.    The overtime provisions of the NYLL and its supporting regulations applies to
            17   Defendants and protect Trottier and the New York Class.
            18           116.    Defendants failed to pay Trottier and the New York Class the premium overtime wages
            19   to which they were entitled under the NYLL—at a rate of 1.5 times their regular rate of pay—for all
            20   hours worked beyond 40 per workweek.
            21           117.    Through its knowing or intentional failure to pay Trottier and the New York Class the
            22   appropriate overtime wages for hours worked in excess of 40 hours per workweek, Defendants
            23   willfully violated the NYLL, Article 19, § 650 et seq., and supporting New York State Department of
            24   Labor regulations.
            25           118.    Due to Defendants’ violations of the NYLL, Trottier and the New York Class are
            26   entitled to recover from Defendants its unpaid overtime wages, liquidated damages, pre-judgment and
            27   post-judgment interest, and reasonable attorneys’ fees and costs pursuant to the NYLL.
            28

                 Pl’s Original Complaint                                                                             - 12 -
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            1     EIGHTH CAUSE OF ACTION—FAILURE TO PROVIDE PROPER NYLL ANNUAL WAGE NOTICES
            2             119.   Trottier incorporates by reference all other paragraphs.
            3             120.   Defendants have failed to furnish Trottier and the New York Class Members with
            4    proper annual wage notices as required by NYLL, Article 6, § 195(1), in English or in the language
            5    identified by each employee as their primary language, at the time of hiring, and on or before February
            6    first of each subsequent year of the employee's employment with the employer, a notice containing:
            7    the rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,
            8    commission, or other; allowances, if any, claimed as part of the minimum wage, including tip, meal,
            9    or lodging allowances; the regular pay day designated by the employer in accordance with NYLL,
            10   Article 6, § 191; the name of the employer; any “doing business as” names used by the employer; the
            11   physical address of the employer’s main office or principal place of business, and a mailing address if
            12   different; the telephone number of the employer; plus such other information as the commissioner
            13   deems material and necessary.
PARMET PC




            14            121.   Due to Defendants’ violations of NYLL, Article 6, § 195(1), Trottier and the New
            15   York Class are entitled to statutory penalties of $50 each workday that Defendants failed to provide
            16   Trottier and the New York Class with annual wage notices, or a total of $5,000 each, and reasonable
            17   attorneys’ fees and costs, as provided for by NYLL, Article 6, § 198(1-b).
            18                     NINTH CAUSE OF ACTION—FAILURE TO PROVIDE ACCURATE
            19                                   WAGE STATEMENTS UNDER NYLL
            20            122.   Trottier incorporates by reference all other paragraphs.
            21            123.   Defendants failed to supply Trottier and the New York Class with an accurate
            22   statement of wages with every payment of wages as required by NYLL, Article 6, § 195(3), listing:
            23   dates of work covered by that payment of wages; name of employee; name of employer; address and
            24   phone number of employer; rate or rates of pay and basis thereof, whether paid by the hour, shift,
            25   day, week, salary, piece, commission, or other; gross wages; deductions; allowances, if any, claimed as
            26   part of the minimum wage; hourly rate or rates of pay and overtime rate or rates of pay if applicable;
            27   the number of hours worked, including overtime hours worked if applicable; deductions; and net
            28   wages.

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            1            124.    Due to Defendants’ violations of NYLL, Article 6, § 195(3), Trottier and the New
            2    York Class are entitled to statutory penalties of $250 for each workday that Defendants failed to
            3    provide them with accurate wage statements, or a total of $5,000 each, and reasonable attorneys’ fees
            4    and costs, as provided for by NYLL, Article 6, § 198 (1-d).
            5                                                 RELIEF SOUGHT
            6            125.    Trottier prays for judgment against Defendants as follows:
            7                    a.        For an order certifying a class action under Rule 23 for the purposes of the
            8                              claims under California law and New York law;
            9                    b.        For an order certifying this case as a collective action for the purposes of the
            10                             FLSA claims;
            11                   c.        For an order finding Defendants liable for violations of state and federal wage
            12                             laws with respect to Trottier and all Class Members covered by this case;
            13                   d.        For a judgment awarding all unpaid wages, liquidated damages, and/or penalty
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            14                             damages, to Trottier and all Class Members covered by this case;
            15                   e.        For a judgment awarding Trottier and all Class Members covered by this case
            16                             their costs of this action;
            17                   f.        For a judgment awarding Trottier and all Class Members covered by this case
            18                             their attorneys’ fees;
            19                   g.        For a judgment awarding Trottier and all Class Members covered by this case
            20                             pre- and post-judgment interest at the highest rates allowed by law; and
            21                   h.        For all such other and further relief as may be necessary and appropriate.
            22
                 Date: January 3, 2020
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                                                          Respectfully submitted,
            1

            2                                                    /s/ Matthew S. Parmet
                                                          By: _____________________________
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                                                                  (CSB # 296742)
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            8                                             Attorneys for Plaintiff
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